     Case 3:20-cv-01173-LAB-NLS Document 18 Filed 08/03/20 PageID.147 Page 1 of 2



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 8                            UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11    ISMAEL ORTEGA, an individual, on                   Case No.: 20cv1173-LAB (NLS)
      behalf of himself and on behalf of all
12                                                       ORDER GRANTING JOINT
      persons similarly situated,
                                                         MOTION TO CONTINUE ENE
13                                      Plaintiff,
14    v.                                                 [ECF No. 15]
15
      LOYAL SOURCE GOVERNMENT
16    SERVICES LLC; and DOES 1 through
      50, inclusive,
17
                                     Defendants.
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19
           Before the Court is the parties’ joint motion to continue the Early Neutral
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     Evaluation Conference (“ENE”), currently set for August 10, 2020. ECF No. 15. This
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     case is one of two cases filed by Plaintiff against Defendants, and the two cases have
22
     been related. See Ortega v. Loyal Source Government Services LLC, Case No. 20cv879-
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     LAB (NLS). The parties have filed a motion to consolidate, currently pending before the
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     Court. ECF No. 14. In addition, the parties state that they are scheduled for a mediation
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     for both cases on September 29, 2020. ECF No. 15 at 2. In light of the overlap between
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     the two cases, the parties request that the Court continue the ENE. Id. at 2-3.
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           Good cause appearing, the Court GRANTS the motion. The ENE is VACATED,
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                                                                                20cv1173-LAB (NLS)
     Case 3:20-cv-01173-LAB-NLS Document 18 Filed 08/03/20 PageID.148 Page 2 of 2



 1   to be reset pending mediation. Within 3 days after the mediation, the parties are to file a
 2   joint status report with the Court.
 3         IT IS SO ORDERED.


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 4   Dated: August 3, 2020
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 6                                              Hon. Nita L. Stormes
                                                United States Magistrate Judge
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